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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                               PANAMA CITY DIVISION



TERESA YATES and LEE YATES,

              Plaintiffs,
vs.                                                CASE NO. 5:10cv226/RS-GRJ

WAL-MART STORES EAST, LP,

           Defendant.
________________________________/

                                           ORDER


       Before me is Notice of Settlement (Doc. 54). Pursuant to Local Rule 16.2(D), it

is ordered:

       1.     This case is dismissed from the active docket of the court.

       2.     In the event that the settlement is not consummated, the court reserves

jurisdiction, upon motion filed by any party within sixty days of the date of this Order, to

amend or vacate and set aside this Order and reinstate the case.

       3.     The clerk is directed to close the file of this case for administrative

purposes, and upon the expiration of sixty days without activity, the clerk is directed to

close the case in its entirety for all purposes.


       ORDERED on August 29, 2011.

                                           /S/ Richard Smoak
                                           RICHARD SMOAK
                                           UNITED STATES DISTRICT JUDGE
